                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN

TANYA WEYKER,

       Plaintiff,
v.
                                                             Case No. 14-CV-782-PP
DEPUTY JOSEPH QUILES,
DEPUTY SCOTT GRIFFIN,
DEPUTY BYRON TERRY,
SGT. MATTHEW PARADISE,
SHERIFF DAVID CLARKE, JR., and
MILWAUKEE COUNTY,

       Defendants.


                      STIPULATION AND ORDER FOR DISMISSAL


       IT IS HEREBY STIPULATED AND AGREED, by and between the parties hereto,

through their respective counsel, that the plaintiff’s complaint in the above-captioned matter may

be dismissed, upon the merits and without costs to any party as against the other, and that an

order to that effect may be entered without further notice or hearing.




Dated: August 8, 2016                         MARTIN LAW OFFICE, S.C.
                                              Attorneys for Plaintiff

                                              /s/ Drew J. De Vinney
                                              ____________________________________
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          Case 2:14-cv-00782-PP Filed 08/08/16 Page 1 of 2 Document 37
Dated: August 8, 2016               HURSCH BLACKWELL LLP
                                    Attorneys for Defendants Milwaukee County,
                                    Sheriff David A. Clark, Jr., Sgt. Mathew Paradise,
                                    Deputy Scott Griffin, and Deputy Byron Terry

                                    /s/ Charles Bohl
                                    ____________________________________
                                    Mr. Andrew A. Jones
                                    State Bar No. 1023074
                                    Mr. Charles Bohl
                                    State Bar No. 1000239
                                    Whyte Hirschboeck Dudek SC
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                                    Milwaukee, WI 53202


Dated: August 8, 2016               SAGER & COLWIN LAW OFFICES, S.C.
                                    Attorneys for Defendant Deputy Joseph Quiles

                                    /s/ Martin J. De Vries
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         Case 2:14-cv-00782-PP Filed 08/08/16 Page 2 of 2 Document 37
